                 Case 18-14592                       Doc 17          Filed 07/11/18 Entered 07/11/18 13:23:40                     Desc Main
                                                                       Document     Page 1 of 6
 Fill in this information to identify your case:
 Debtor 1               Anthony J. Kalata
                              First Name            Middle Name             Last Name
 Debtor 2            Christine Kalata
 (Spouse, if filing) First Name      Middle Name           Last Name
 United States Bankruptcy Court for the:         NORTHERN DISTRICT OF ILLINOIS                                         Check if this is an amended plan, and
                                                                                                                       list below the sections of the plan that
 Case number:                 18-14592                                                                                 have been changed.
                                                                                                                       3.2 and 3.4
 (If known)


Official Form 113
Chapter 13 Plan                                                                                                                                          12/17


 Part 1:       Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                           do not comply with local rules and judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                           Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                           Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.

                           The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                           plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision
                           will be ineffective if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in              Included                    Not Included
              a partial payment or no payment at all to the secured creditor
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                Included                    Not Included
              set out in Section 3.4.
 1.3          Nonstandard provisions, set out in Part 8.                                                         Included                    Not Included


 Part 2:       Plan Payments and Length of Plan

2.1           Debtor(s) will make regular payments to the trustee as follows:

$960 per Month for 60 months

Insert additional lines if needed.

              If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
              payments to creditors specified in this plan.

2.2           Regular payments to the trustee will be made from future income in the following manner.

              Check all that apply:
                       Debtor(s) will make payments pursuant to a payroll deduction order.
                       Debtor(s) will make payments directly to the trustee.
                       Other (specify method of payment):

2.3 Income tax refunds.
    Check one.
                  Debtor(s) will retain any income tax refunds received during the plan term.


APPENDIX D                                                                      Chapter 13 Plan                                                 Page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
                 Case 18-14592                       Doc 17          Filed 07/11/18 Entered 07/11/18 13:23:40                    Desc Main
                                                                       Document     Page 2 of 6
 Debtor                Anthony J. Kalata                                                         Case number        18-14592
                       Christine Kalata

                          Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
                          return and will turn over to the trustee all income tax refunds received during the plan term.

                          Debtor(s) will treat income refunds as follows:


2.4 Additional payments.
    Check one.
                  None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

2.5          The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $57,600.00.

 Part 3:      Treatment of Secured Claims

3.1          Maintenance of payments and cure of default, if any.

          Check one.
                    None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
                    The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes
                    required by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either
                    by the trustee or directly by the debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through
                    disbursements by the trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the court, the amounts listed on
                    a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below
                    as to the current installment payment and arrearage. In the absence of a contrary timely filed proof of claim, the amounts stated
                    below are controlling. If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless
                    otherwise ordered by the court, all payments under this paragraph as to that collateral will cease, and all secured claims based on
                    that collateral will no longer be treated by the plan. The final column includes only payments disbursed by the trustee rather than
                    by the debtor(s).
 Name of Creditor Collateral                        Current installment Amount of                    Interest rate    Monthly payment Estimated
                                                    payment                   arrearage (if any) on arrearage on arrearage                  total
                                                    (including escrow)                               (if applicable)                        payments by
                                                                                                                                            trustee
                        617 Belmont Ave.
                        Oswego, IL
 Chruchill Club         60543 Kendall
 Homeowners             County                                                Prepetition:
 Assn                   FMV - Zillow                           $61.67               $1,500.00             0.00%                  $38.46          $1,500.00
                                                    Disbursed by:
                                                        Trustee
                                                        Debtor(s)
                        617 Belmont Ave.
                        Oswego, IL
                        60543 Kendall
 Specialized            County                                                Prepetition:
 Loan Servi             FMV - Zillow                        $2,306.04             $34,000.00              0.00%                $871.79         $34,000.00
                                                    Disbursed by:
                                                        Trustee
                                                        Debtor(s)
Insert additional claims as needed.

3.2          Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

                          None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
                          The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                          The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured
                          claim listed below, the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of
                          secured claim. For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim
                          listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below. For each
                          listed claim, the value of the secured claim will be paid in full with interest at the rate stated below.

                          The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5

Official Form 113                                                              Chapter 13 Plan                                                 Page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
                 Case 18-14592                       Doc 17           Filed 07/11/18 Entered 07/11/18 13:23:40                     Desc Main
                                                                        Document     Page 3 of 6
 Debtor                Anthony J. Kalata                                                             Case number     18-14592
                       Christine Kalata

                          of this plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be
                          treated in its entirety as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the
                          creditor’s total claim listed on the proof of claim controls over any contrary amounts listed in this paragraph.

                          The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the
                          property interest of the debtor(s) or the estate(s) until the earlier of:

                          (a) payment of the underlying debt determined under nonbankruptcy law, or

                          (b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.


 Name of               Estimated             Collateral              Value of     Amount of         Amount of        Interest     Monthly    Estimated
 creditor              amount of                                     collateral   claims senior     secured claim    rate         payment to total of
                       creditor's                                                 to creditor's                                   creditor   monthly
                       total claim                                                claim                                                      payments
                                             617
                                             Belmont
                                             Ave.
                                             Oswego,
                                             IL 60543
                                             Kendall
 Tcf                                         County
 Banking               $80,835.0             FMV -                   $225,237.0    $335,166.
 & Savings             0                     Zillow                  0                    00               $0.00      0.00%             $0.00                $0.00

Insert additional claims as needed.

 3.3         Secured claims excluded from 11 U.S.C. § 506.

      Check one.
                          None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

3.4          Lien avoidance.

Check one.
                          None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5          Surrender of collateral.

             Check one.
                     None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

 Part 4:      Treatment of Fees and Priority Claims

4.1          General
             Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
             without postpetition interest.

4.2          Trustee’s fees
             Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 6.00% of plan payments; and
             during the plan term, they are estimated to total $3,456.00.

4.3          Attorney's fees.

             The balance of the fees owed to the attorney for the debtor(s) is estimated to be $3,600.00.

4.4          Priority claims other than attorney’s fees and those treated in § 4.5.

             Check one.
                     None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.


Official Form 113                                                                 Chapter 13 Plan                                               Page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
                 Case 18-14592                       Doc 17          Filed 07/11/18 Entered 07/11/18 13:23:40                 Desc Main
                                                                       Document     Page 4 of 6
 Debtor                Anthony J. Kalata                                                           Case number    18-14592
                       Christine Kalata

4.5          Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

             Check one.
                     None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



 Part 5:      Treatment of Nonpriority Unsecured Claims

5.1          Nonpriority unsecured claims not separately classified.

             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
             providing the largest payment will be effective. Check all that apply.
               The sum of $       .
                 10 % of the total amount of these claims, an estimated payment of $          .
               The funds remaining after disbursements have been made to all other creditors provided for in this plan.



                If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $364.14.
                Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2          Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3          Other separately classified nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

 Part 6:      Executory Contracts and Unexpired Leases

6.1          The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected. Check one.

                          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



 Part 7:      Vesting of Property of the Estate

7.1        Property of the estate will vest in the debtor(s) upon
      Check the appliable box:
            plan confirmation.
            entry of discharge.
            other:

 Part 8:      Nonstandard Plan Provisions

8.1          Check "None" or List Nonstandard Plan Provisions
                    None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

 Part 9:      Signature(s):

9.1        Signatures of Debtor(s) and Debtor(s)’ Attorney
If the Debtor(s) do not have an attorney, the Debtor(s) must sign below, otherwise the Debtor(s) signatures are optional. The attorney for Debtor(s),
if any, must sign below.
 X /s/ Anthony J. Kalata                                                X /s/ Christine Kalata
       Anthony J. Kalata                                                     Christine Kalata
       Signature of Debtor 1                                                 Signature of Debtor 2

       Executed on            July 11, 2018                                          Executed on      July 11, 2018

Official Form 113                                                              Chapter 13 Plan                                              Page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
                 Case 18-14592                       Doc 17          Filed 07/11/18 Entered 07/11/18 13:23:40             Desc Main
                                                                       Document     Page 5 of 6
 Debtor                Anthony J. Kalata                                                         Case number   18-14592
                       Christine Kalata


 X     /s/ Chad M. Hayward                                                      Date   July 11, 2018
       Chad M. Hayward 6280182
       Signature of Attorney for Debtor(s)

By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Official Form 113, other than any nonstandard provisions
included in Part 8.




Official Form 113                                                              Chapter 13 Plan                                        Page 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                          Best Case Bankruptcy
                 Case 18-14592                       Doc 17          Filed 07/11/18 Entered 07/11/18 13:23:40              Desc Main
                                                                       Document     Page 6 of 6
 Debtor                Anthony J. Kalata                                                         Case number   18-14592
                       Christine Kalata

Exhibit: Total Amount of Estimated Trustee Payments
The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set
out below and the actual plan terms, the plan terms control.

 a.    Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)                                                           $35,500.00

 b.    Modified secured claims (Part 3, Section 3.2 total)                                                                                           $0.00

 c.    Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total)                                                                      $0.00

 d.    Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)                                                            $0.00

 e.    Fees and priority claims (Part 4 total)                                                                                                 $7,056.00

 f.    Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount)                                                             $15,826.00

 g.    Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)                                                                 $0.00

 h.    Separately classified unsecured claims (Part 5, Section 5.3 total)                                                                            $0.00

 i.    Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)                                                      $0.00

 j.    Nonstandard payments (Part 8, total)                                                                    +                                     $0.00


 Total of lines a through j                                                                                                                  $58,382.00




Official Form 113                                                              Chapter 13 Plan                                          Page 6
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy
